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 1
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 5
     Attorney for Plaintiff
 6 Ningbo Bonny e-Home Company Ltd.
 7
                               UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF PENNSYLVANIA
 9
      NINGBO BONNY E-HOME CO.,                     Case No. 2:24-cv-00568 CB
10    LTD.
11                                                     DECLARATION OF SERVICE

12
                              Plaintiff,
13
      v.
14
15    ONDWAY, POOLCLEAN US
      STORE, USA WAREHOUSE,
16    BOWANJIE, INPOOL US STORE,
17    DEWFOND, DIGIGER,
      MOTOBUDDY STORE, and et al.
18    Individual, Partnerships
19                      Defendants.

20
21
22           DECLARATION OF ALTERNATIVE SERVICE OF PROCESS UNDER
             ORDER 14
23
24
             This Declaration attests that Defendants in this case have been subject to
25
             alternative service of process under Court’s Order No 14 as follows:
26
                 1. Publication
27
28



      Motion                                     -1-
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 1   All Defendants have been served by publication the Complaint.as filed on May
 2   19, 2024 and the Summons issued by the Court through on the              website
 3   www.Raychaniplaw.com under the tab “Newsletter & Litigation filings & Case
 4   Updates”
 5
 6      2. Service by email
 7
 8      Service by email on respective Defendants has been accomplished as follows:
 9
10      On April 2, 2025, Defendants ONDWAY, BOWANJIE, INPOOL US
11      STORE, DEWFOND, DIGIGER were served by emails with attachments of
12      the Complaint as filed on May 19, 2024, and the Summons issued by the
13      Court. Screenshots of those emails are submitted with this Declaration.
14
15      On April 3 and April 4, 2025, Defendants POOLCLEAN US STORE, USA
16      WAREHOUSE have been served by emails with attachments of the
17      Complaint as filed on May 19, 2024, and the Summons issued by the Court.
18      Screenshots of those emails are submitted with this Declaration.
19
20      Contact for Defendant Motobuddy is not available
21
22      I hereby declare that the facts stated above are true and correct subject to
23      penalty for perjury.
24
25
26   Respectfully submitted,

27                                         /s/Patricia Ray

28                                         Attorney for Plaintiff
                                           RAYCHAN I.P. LAW FIRM, PLLC


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 2   Dated: April 6, 2025

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